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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
  COMMITTEE ON OVERSIGHT AND                      )
   REFORM, UNITED STATES HOUSE                    )
   OF REPRESENTATIVES,                            )
                                                  )
                              Plaintiff,          )
                                                  )
                        v.                        )      No. 1:19-cv-3557 (RDM)
                                                  )
  MERRICK B. GARLAND, in his official             )
   capacity as Attorney General of the            )
   United States, et al.,                         )
                                                  )
                              Defendants.         )
                                                  )

                                   JOINT STATUS REPORT

       The parties respectfully submit the following joint status report in compliance with the

Court’s Minute Order of August 13, 2021.

       Since the parties submitted their most recent status report on August 12, 2021, they have

come to terms on an agreement, which, they expect, will facilitate the resolution of this

action. A copy of the parties’ agreement is attached hereto. The parties will work diligently and

in good faith to execute the terms of their agreement. The parties therefore jointly request that

they file a further joint status report on or before October 29, 2021.


Dated: August 30, 2021

                                                  Respectfully submitted,

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                                                  Acting Assistant Attorney General

                                                  BRIAN D. NETTER
                                                  Deputy Assistant Attorney General
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                              JOHN R. GRIFFITHS
                              Director

                              ELIZABETH J. SHAPIRO
                              Deputy Director


                               /s/ James J. Gilligan
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